Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 1 of 18 Page ID
                                  #:237
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 2 of 18 Page ID
                                  #:238
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 3 of 18 Page ID
                                  #:239
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 4 of 18 Page ID
                                  #:240
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 5 of 18 Page ID
                                  #:241
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 6 of 18 Page ID
                                  #:242
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 7 of 18 Page ID
                                  #:243
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 8 of 18 Page ID
                                  #:244
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 9 of 18 Page ID
                                  #:245
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 10 of 18 Page ID
                                  #:246
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 11 of 18 Page ID
                                  #:247
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 12 of 18 Page ID
                                  #:248
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 13 of 18 Page ID
                                  #:249
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 14 of 18 Page ID
                                  #:250
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 15 of 18 Page ID
                                  #:251
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 16 of 18 Page ID
                                  #:252
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 17 of 18 Page ID
                                  #:253
Case 2:08-cv-06090-FMC-AGR Document 29-14 Filed 07/22/09 Page 18 of 18 Page ID
                                  #:254
